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                       UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF KENTUCKY
                            AT BOWLING GREEN

                  CRIMINAL ACTION NO. 1:06CR-00024-TBR-(6)

UNITED STATES OF AMERICA                                                      PLAINTIFF

VS.

TREVOR HAMPTON                                                              DEFENDANT


                        REPORT AND RECOMMENDATION
                         CONCERNING PLEA OF GUILTY


       The Defendant, by consent, has appeared before me pursuant to Rule 11, Federal

Rules of Criminal Procedure, and has entered a plea of guilty to Count One of the Single-

Count Information. After cautioning and examining the Defendant under oath concerning

each of the subjects mentioned in Rule 11, I determined that the guilty plea was

knowledgeable and voluntary and that the offenses charged are supported by an

independent basis in fact containing each of the essential elements of such offenses. I,

therefore, recommend that the plea of GUILTY be accepted and that the Defendant be

adjudged GUILTY and have sentence imposed accordingly.

       ENTERED this April 19, 2007
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                                         NOTICE

       Failure to file written objections to this Report and Recommendation within (10)

days from the date of its service shall bar an aggrieved party from attacking such Report

and Recommendation before the assigned United States District Judge.

28 U.S.C. 636(b)(1)(B).

       Date of Service: April 19, 2007




Copies to:

AUSA Jo E. Lawless
US Marshal
US Probation
Ms. Elizabeth Wilson
Ms. Kelly Waldon, Case Manager




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